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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA


 PAMELA STURGEON, on behalf of
 FINES W. STURGEON,

         Plaintiff,                               Case No. CIV-20-193-RAW-KEW

 v.

 KILOLO KIJAKAZI, Commissioner of the
 Social Security Administration,

         Defendant.




               ORDER AFFIRMING DECISION OF THE COMMISSIONER

       On September 13, 2021, the United States Magistrate Judge entered a Report and

Recommendation in the above-referenced case, recommending that this Court affirm the

Commissioner’s decision upholding on appeal the findings of the Administrative Law Judge

(“ALJ”), denying benefits to Plaintiff [Docket No. 20]. Plaintiff has not filed an Objection to the

Report and Recommendation to affirm the ALJ’s decision on the merits and the time for filing

objections is past.

       Upon full consideration of the record and the issues herein, this court finds that the

Magistrate Judge’s recommendation to affirm the ALJ is well-supported. The ALJ’s decision is

supported by substantial evidence, and the correct legal standards were applied.

       Accordingly, the Report and Recommendation of the United States Magistrate Judge is

hereby AFFIRMED and ADOPTED as this court’s Findings and Order. The decision of the

Commissioner is AFFIRMED.
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    IT IS SO ORDERED this 29th day of September, 2021.




                                     _____________________________________
                                     THE HONORABLE RONALD A. WHITE
                                     UNITED STATES DISTRICT JUDGE
                                     EASTERN DISTRICT OF OKLAHOMA




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